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                                    United States District Court
                                           CIVIL MINUTES - GENERAL

Case # 4:18cv262-MW                                                                         Date July 24, 2018

                                            JACOBSON et al v. DETZNER



DOCKET ENTRY:              Preliminary Injunction Hearing                   10:02 - 10:58; 11:17 - 11:35; 11:50 - 1:08

Court hears argument regarding [29] Motion for Preliminary Injunction. Ruling by the Court: Court
denies plaintiff's ore tenus motion to strike. [21] & [37] Motions to dismiss filed by defendant and
intervenor defendant are denied. Motion for Preliminary injunction is denied. Orders will issue today.
Parties are directed to confer and propose a schedule and file a rule 26 report by 8/3/2018.

PRESENT: HONORABLE MARK E. WALKER                   , UNITED STATES DISTRICT CHIEF JUDGE

                      Victoria Milton McGee                                          Megan Hague
                           Deputy Clerk                                              Court Reporter

Attorneys For Plaintiff:                                           Attorneys For Defendants:

Abha Khanna                                                        Mohammad Jazil           Malcolm Means
John Geise                                                         David Fugett             Jason Torchinsky
Frederick Wermuth                                                  Gary Perko               Shawn Sheehy


10:02            Court in session
10:03            Parties discuss witnesses that will be called for today's hearing
10:12 - 10:58    Argument by Counsel

10:58            Court in recess

11:17            Court in session
11:18 - 11:35    Argument by counsel

11:35            Court in recess

11:50            Court in session
11:51            Maria Matthews - Defense witness, Sworn, Direct (Jazil)
11:54            Court questions witness
11:58            Direct examination continues (Jazil)
11:59            Direct (Intervenor Defendant) examination of witness (Torchinsky)
12:03            Cross examination of witness (Wermuth)
12:16            Court questions witness
12:18            Cross examination of witness continues (Wermuth)
12:21            Redirect by Intervenor Defendant (Torchinsky)
12:24 - 1:00     Argument by Counsel
1:01             Ruling by the Court: Motions to dismiss filed by defendant and intervenor are denied. Preliminary injunction
                 is denied. Orders will issue today. Parties are directed to confer and propose a schedule and file a rule 26
                 report by 8/3/2018.
1:08             Court adjourned.



                                                                                            Initials of Clerk: vmm
